Case 17-10828-elf    Doc 22    Filed 03/03/17 Entered 03/06/17 11:28:46       Desc Main
                               Document      Page 1 of 2


                     X'ZirM                                                              K)6n-ioi
                                                           - et F
                                                    •m - :< %0'il
 i                                            cu;«.P .TnrJ.^:mR ProLO
                                                                    tr
                             Z^iv^               46 yocv-fo cScx.y
                                                       '     •            "   r

                          rsu for -v-w^                             yovj                         m<
                                                 pt^^-cSe^ cS4icx,"Ve.<v^e(Tt' c>wOC
                     —J. •    I              ~                                    » *»          Z—T^
                    'YWfi^ nno^rT^ Li<34" oF                                                     A
                     beti^o^                C^O^r^rJ irV^(Mr^ oj>V>c<V Xc^
                      v^kyVv^^ y<bO fer             06UJ>           <=> i *6+
                     .Sg,rv                        ^3 noe, ^ve.ryc>n-<s^ (oVvn\S
                     ? rtSf o N•&- • &.nri ,. ihooV^ ^<-i\ nr. O O •g--V'CL .
                    -ft                  tV rif -H^g, r.rerJi-fr>C5 "H^i: !
                       f
                     C.-.U     f(fi.Uolvg,cl               "X .no.cry'eci -VQ ftS-k*
                    yoo              "VVvg^re- fr ^frirtvo -Vc;)

  r-                ^ :&-5:
                      -9A IT         « Fv       ^1 >--t-C/-l 4-1^
                                        £xp^,cl)'^c{         M^Cr^rxWyi
                                                                  /•i.n/A^ ^
                                                                                           r
                                                                                           /—
                                                                                                :QL
                                                                                                 /\/




  •                  £x pi^r              Crgcli-t-a r.S UO.A ri,f\                      <A,nrJ

  r                  Co-zO      X      be pfP,5e.A-V-ftj-i-Vi<?, ^eo^rvCt^c
   I




  r                 ,Po<55l'v,)y By TV/. roA<r're.nCg,                                   <; i,nc-g^

  r                           Okri^ f\    ^s, C.~^ A.s-^-l0^^rlr.> ^UTaoK yoi.
                            voor irtme. QO i?VvL3
                     ^ iv')Cx-rs-\-g--j -Vc^FeU yaO./HTX-V •Hvg.'^O
                                Vv^r^ ^5 3^ir+^'^^ P^7        ) ic>
Case 17-10828-elf     Doc 22      Filed 03/03/17 Entered 03/06/17 11:28:46     Desc Main
                                  Document      Page 2 of 2


 to-1rc^X hcL-rli -|ie>          A Fn.t/i'Ay
             4(S      r->n 'H^g. Comp>.)fg,-r
"t6 fvnc\ oO>-V - \Vio^ yoiS            ti. m'6^
 fltJ •ex-K.o-Vi'o n -Vi'I fyto.v-y .\n
X rJtcl ni-             -Uv^ lerHcr ft 5 of
 ruLg. Jo4''t,tU,'Ov -fnlr-l me- yoQ
 •g.n'i'^^g.rl ^V^\oocV' V^(T•ler r>ri 2--i.g'
 G^nd                pg-o^^. ^c.rc, uT^nenvQ
           Kt:*]

 t-g0cv,l 7-X.-Q S a ?H- sUoold bg. r>bg.r\
 o         p         I.      r?       ^        ^         \i           J
 t fV      Pmn'^ Q-^ wg.,.i..S'Hi
OvnyirWvari             C"JK,O     C^CIQ.C-^
(^Ao&- G^^rvAfN
 -V t^r-       r».   ^^     ^
                               yo O Fcr r
                                  -V( ^   . <1.^^   V/        I   I       <"


     ur           a^rvJi S'^rviC'Z. o^
 tVi,u5 <VKX.-V'T^<r'.

                           Pr>r Lonfi LVglffl^
                          (Ooo Ponie^ goftd
                          l)ftVVA^ Pft, 124,1-9,




                                                                                   7
